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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION


    PNC BANK, NATIONAL ASSOCIATION,                        CASE NO: 9:21-cv-80758-DMM
    SUCCESSOR BY MERGER TO NATIONAL
    CITY BANK, SUCCESSOR BY MERGER
    TO FIDELITY FEDERAL BANK & TRUST,

                   Plaintiff,
    vs.

    LILIA BELKOVA A/K/A LILIA BELKOVA
    RUSSO, individually; LILIA BELKOVA, AS
    SUCCESSOR TRUSTEE OF THE LAND
    TRUST AGREEMENT NO. 072003 DATED
    FEBRUARY 9, 2004; DEER RUN
    PROPERTY OWNERS’ ASSOCIATION,
    INC.; ENTERPRISE FUNDING SOLUTIONS
    LLC,

               Defendants.
    ___________________________________/

                                 JOINT PRETRIAL STIPULATION

          COME NOW Plaintiff, PNC BANK, NATIONAL ASSOCIATION, SUCCESSOR BY

   MERGER TO NATIONAL CITY BANK, SUCCESSOR BY MERGER TO FIDELITY

   FEDERAL BANK & TRUST (“Plaintiff” or “PNC”); Defendant, DEER RUN PROPERTY

   OWNERS’ ASSOCIATION, INC. (the “Association”); and Defendants, LILIA BELKOVA

   A/K/A LILIA BELKOVA RUSSO, individually (“Belkova”), and LILIA BELKOVA, AS

   SUCCESSOR TRUSTEE OF THE LAND TRUST AGREEMENT NO. 072003 DATED

   FEBRUARY 9, 2004 (the “Land Trust”) (together, the “Belkova Defendants”) (collectively with

   PNC and the Association, the “Parties”), by and through their respective counsel, hereby submit

   this Joint Pretrial Stipulation in accordance with the Court’s Pretrial Scheduling Order and Order

   Referring Case to Mediation (D.E. 7), as follows:

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   1.     Statement of the Case by Each Party in the Action.

          Plaintiff’s Statement of the Case:

                  Notwithstanding the years of litigation related to Plaintiff’s Mortgage (the “PNC
          Mortgage”) and the subject Property, this case is a straight-forward foreclosure action. The
          Land Trust, through Belkova, acquired the Property in 2004, and in doing so, gave a purchase
          money mortgage to Mackinac Savings Bank based on money lent for the purchase of the
          Property. In 2005, Belkova, desiring to construct her residence on the Property, executed
          the subject Note and a Construction Loan Agreement in favor of PNC’s predecessor-in-
          interest by merger, Fidelity Federal Bank & Trust. The Land Trust, through its then-
          Trustee, executed the PNC Mortgage, establishing a first-position lien against the Property.
          The funds lent pursuant to the Note and PNC Mortgage were used to satisfy the Mackinac
          Savings Bank mortgage.

                 In 2013, Belkova filed a Chapter 13 Bankruptcy action, in which the Bankruptcy
          Court, pursuant to an agreement between Belkova and PNC, valued PNC’s secured claim
          at $325,000, plus 5% interest, to be paid in 360 monthly payments over thirty years.
          Belkova’s Sixth Amended Chapter 13 Plan was confirmed in May 2017, and Belkova
          performed under her confirmed plan and received a discharge. Following completion of
          her Plan, however, Belkova was required to continue paying PNC in accordance with the
          confirmed plan, i.e., by making the remainder of the monthly payments. Belkova failed
          to make the very first payment due following completion of her Plan,and failed to make all
          subsequent payments due thereafter. In addition to failing to make post-Plan payments to
          PNC, Belkova also failed and refused to pay the property taxes for the Property and failed
          to provide proof of insurance for the Property, both of which were violations of the
          Bankruptcy Court’s confirmation order and each of which constitute independent defaults
          under the PNC Mortgage.

                  After confirmation of her Sixth Amended Plan, but prior to her fully performing
          thereunder, Belkova filed an adversary proceeding in the Bankruptcy Court, challenging
          the validity of the PNC Mortgage. Ultimately, the Bankruptcy Court granted summary
          judgment in favor of PNC, establishing an equitable lien against the Property in PNC’s
          favor, and dismissing Belkova’s adversary complaint. Despite finding that PNC was
          entitled to an equitable lien, the Bankruptcy Court did not make any corresponding
          determination that the PNC Mortgage was invalid. Instead, the Bankruptcy Court ruled that
          Belkova’s underlying claim against PNC was moot by virtue of the grant of summary
          judgment in PNC’s favor.

                  Following Belkova’s defaults under the PNC Mortgage, as modified by the
          Bankruptcy Court Orders, PNC gave Belkova notice and an opportunity to cure the
          defaults, which she failed to do. Having obtained prospective relief in the Bankruptcy
          Court from the automatic stay, PNC commenced the present in rem action.1


   1
    Belkova received an individual discharge in a prior Chapter 7 bankruptcy case, so the instant
   action does not include an in personam claim.
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        Defendant, DEER RUN PROPERTY OWNERS’ ASSOCIATION, INC.’s Statement
        of the Case:

                Deer Run is a “homeowners’ association” within the meaning of Chapter 720,
        Florida Statutes. On November 4, 2013, Belkova filed a voluntary petition under Chapter
        12 of the Bankruptcy Code in the Middle District of Florida, which was assigned case
        number 3:13-bk-07570-RCT and assigned first to the Honorable Jerry A. Funk and then to
        the Honorable Judge Roberta A. Colton (the “Belkova 2013 Bankruptcy”). On December
        15, 2015, an “Agreed Order Granting Deer Run Property Owners’ Association, Inc.’s
        Motion for Relief from the Automatic Stay” was entered by Judge Funk [Belkova 2013
        Bankruptcy, Doc. 244]. On November 22, 2016, Deer Run recorded a claim of lien against
        the subject Property in public records of Palm Beach County, Florida. On February 8,
        2017, Deer Run filed an action to foreclose is claim of lien in the County Court of the
        Fifteenth Judicial Circuit in and for Palm Beach County, Florida, Case No. 50-2017-CC-
        001472XXXXMB (“Deer Run State Court Foreclosure Action”). After multiple
        intervening bankruptcy filings by Belkova, which were dismissed, on September 13, 2021,
        the county court entered a Final Judgment of Foreclosure in favor of Deer Run, scheduling
        the subject Property for judicial sale for October 13, 2021. On October 12, 2021, Belkova
        filed a notice of appeal with the Fourth District Court of Appeals. On October 13, 2021,
        the judicial sale of the subject Property occurred. On the same date, a Certificate of Sale
        was issued by the state clerk of the court. Belkova filed an objection to the sale and to the
        issuance of a certificate of title to the high bidder at the sale. The county court has not yet
        ruled on this objection.

                Assuming, PNC Bank establishes it holds a valid note secured by a mortgage and
        related equitable lien that was recorded prior to Deer Run’s claim of lien, then Deer Run
        acknowledges PNC’s interest in the subject Property would be superior to Deer Run’s
        interest in the subject Property. In such event, Deer Run’s right to any surplus proceeds
        from the sale of the property will be governed by applicable state law.

        Defendants, LILIA BELKOVA A/K/A LILIA BELKOVA RUSSO, individually, and
        LILIA BELKOVA, AS SUCCESSOR TRUSTEE OF THE LAND TRUST
        AGREEMENT NO. 072003 DATED FEBRUARY 9, 2004’s Statement of the Case:

               The Defendant is not the proper party to this action. Despite any statements by the
        Defendant, in any capacity, from the outset, the intent of James Sobosienski, Joseph
        Hanratty and Anisa Nazarova was to create a land trust to vest title for the benefit of a
        Nazarova, who was the financier of the acquisition of the subject property.

                 The non-parties attempted to create a Florida Land Trust, based on the Florida Land
        Trust Act that is modeled after the Illinois Land Trust Act. However, no valid land trust
        was created, and all subsequent conveyances and assignments were ineffective and void
        for failing to comply with the Florida Land Trust Act.

                With this knowledge in hand, the Plaintiff and Deer Run continued over the years
        to file countless actions, and never including the true beneficial and actual owner –
        Nazarova, as it was Nazarova who purchased 100% of the beneficial interest in what she
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        had believed to be a valid land trust (to wit: “Land trust Agreement 072003 dated February
        9, 2004”).

                Each and every subsequent transfer or assignment of the property failed because of
        the defects and failure to establish a proper land trust.

   2.   The Basis for Federal Jurisdiction:

        The Court has jurisdiction over this matter pursuant to 28 U.S.C. §1332(a).

   3.   The Pleadings Raising the Issues:

              Plaintiff’s Second Amended Complaint (D.E. 16).

              Defendant, DEER RUN PROPERTY OWNERS’ ASSOCIATION, INC., Answer
        to Second Amended Complaint (D.E. 24).

   4.   List of All Undisposed Motions or Other Matters Requiring Action by the Court:

              Plaintiff’s Amended Motion for Summary Judgment and Statement of Material
        Facts (D.E. 71, 72).

   5.   Statement of Uncontested Facts That Will Require No Proof at Trial:

        1.     The real property that is the subject of this litigation is located at 2251 Buck Ridge
               Trail, Loxahatchee, Florida 33470 (the “Property”), which bears the following legal
               description:

               LOT 122 DEER RUN ACCORDING TO THE PLAT THEREOF AS
               RECORDED IN THE OFFICE OF THE CLERK OF THE CIRCUIT
               COURT IN AND FOR PALM BEACH COUNTY, FLORIDA IN PLAT
               BOOK 35 PAGES 34 THROUGH 39 INCLUSIVE.

        2.     The Property has been the subject of following deeds: (i) Warranty Deed dated
               February 9, 2004 and recorded on February 12, 2004 in the Official Records of
               Palm Beach County, Florida at Book 16544, Page 499-500, wherein James
               Sobocienski was the grantor, and Joseph M. Hanratty, Trustee of Land Trust
               Agreement No. 072003 dated February 9, 2004 (the “Land Trust”), was the grantee;
               (ii) Quit Claim Deed recorded on February 15, 2007 in the Official Records of Palm
               Beach County, Florida at Book 21419, Page 1352, wherein Joseph M. Hanratty,
               Trustee of the Land Trust, was the grantor, and Trust Management, LLC, Successor
               Trustee of the Land Trust, was the grantee; and (iii) Quit Claim Deed recorded on
               January 30, 2012, in the Official Records of Palm Beach County, Florida at Book
               24985, Page 1196, wherein Trust Management, LLC, Successor Trustee of the
               Land Trust, was the grantor, and Lilia Belkova, as Successor Trustee of the Land
               Trust, was the grantee.


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        3.    In order to purchase the Property from Sobocienski, a Mortgage was executed in
              favor of Mackinac Savings Bank by Joseph M. Hanratty, as Trustee of the Land
              Trust, on February 9, 2004 (the “Mackinac Mortgage”).

        4.    The Mackinac Mortgage, in the amount of $123,750.00, was recorded on February
              12, 2004, in the Official Records of Palm Beach County, Florida at Book 16544,
              Page 0501, and encumbered the Property.

        5.    In connection with the Mackinac Mortgage, Joseph M. Hanratty, as Trustee of the
              Land Trust, executed a Trustee’s Affidavit on that same date, recorded in the
              Official Records of Palm Beach County, Florida at Book 16544, Page 0513, in
              which he attested he “is the Trustee possessing full power without limitation to
              convey or mortgage property and to execute all documents necessary to any such
              transaction.”

        6.    The Note dated January 14, 2005, in the amount of $530,000.00, bears the signature
              of “Lilia Belkova, as Beneficiary of Land Trust 072003” and was delivered to
              PNC’s predecessor by merger, Fidelity Federal Bank & Trust (“Fidelity Federal”).

        7.    The PNC Mortgage, securing payment of the Note, was executed on January 18,
              2005 by Joseph M. Hanratty, as Trustee of the Land Trust, and was recorded on
              January 27, 2005, in the Official Records of Palm Beach County, Florida at Book
              18066, Pages 0221-0237.

        8.    A Construction Loan Agreement (the “Construction Loan Agreement”) was
              executed and delivered on January 14, 2005, by “Lilia Belkova, as Beneficiary of
              Land Trust 072003” to PNC’s predecessor by merger, Fidelity Federal.

        9.    Proceeds from the funds lent pursuant to the Note and the PNC Mortgage were used
              to pay off and satisfy in full the Mackinac Mortgage.

        10.   On February 10, 2005, a Satisfaction of the Mackinac Mortgage was recorded in
              the Official Records of Palm Beach County, Florida at Book 18126, Page 0846.

        11.   National City Bank acquired the Note and the PNC Mortgage through its merger
              with Fidelity Federal.

        12.   Thereafter, PNC acquired the Note and the PNC Mortgage through its merger with
              National City Bank.

        13.   On November 4, 2013, Belkova filed a voluntary petition for relief under Chapter
              12 of the Bankruptcy Code, bearing Case No. 3:13-bk-07570-JAF, in the United
              States Bankruptcy Court, Middle District of Florida, Jacksonville Division (the
              “2013 Chapter 12 Bankruptcy”).

        14.   On March 13, 2014, PNC filed its Proof of Claim in the 2013 Chapter 12
              Bankruptcy.


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        15.   On June 25, 2014, Belkova filed her Motion to Value Secured Claim Four (4) of
              PNC Bank, N.A. In the body of the Motion, she stated that the loan to PNC “is
              secured by a lien on a farm located at 2251 Buckridge Trail, Loxahatchee, FL
              33470.”

        16.   In support of that Motion, Belkova filed a sworn Affidavit of Valuation, in which
              she stated: “The name of the lienholder is PNC Bank” and “The type of property is
              real property and the description of the property is Debtor’s farm located in Palm
              Beach County, FL” and “The amount owed on the first mortgage (PNC Bank) is
              $758,510.40 (amount listed in claim 4-1; Debtor disputes this amount.”).

        17.   Ultimately, Belkova and PNC reached an agreement regarding Belkova’s request
              that the Bankruptcy Court value PNC’s secured claim.

        18.   That settlement was later memorialized in the Bankruptcy Court’s Amended Order
              Granting Motion for Relief from Order Granting Debtor’s Amended Motion to
              Value Secured Claim Four (4) of PNC Bank, N.A. (the “Valuation Order”), which
              was entered on September 15, 2015, and was later amended on October 23, 2015
              (the amendment was unrelated to the substance of the Valuation Order).

        19.   In the Valuation Order, the Bankruptcy Court held: “The portion of claim Four (4)
              secured by the following real property is valued at $325,000.” The real property
              was described as 2251 Buck Ridge Trail, Loxahatchee, FL 33470. The Order went
              on to hold, “The balance of this claim shall be treated as unsecured.”

        20.   On April 10, 2017, Belkova filed her Sixth Amended Chapter 12 Plan (“Sixth
              Amended Plan”). In her Sixth Amended Plan, she stated that “[t]he new initial
              principal balance shall be $325,000 (which includes 5% interest and is based upon
              the Court’s Amended Order dated October 23, 2015…).”

        21.   In addition, in the Sixth Amended Plan, Belkova also stated: “The Confirmation of
              this Plan shall have the effect of confirming that Debtor is the owner of this property
              located in Palm Beach County, Florida either individually or through the respective
              Florida Land Trust.”

        22.   On May 15, 2017, the Bankruptcy Court entered its Order Confirming Chapter 12
              Plan Allowing Claims and Directing Distribution (the “Confirmation Order”). In
              the Confirmation Order, the Bankruptcy Court confirmed the Sixth Amended Plan.

        23.   Belkova fully performed under the Sixth Amended Plan and received her Chapter
              12 discharge on June 3, 2020 (the “Chapter 12 Discharge”).

        24.   On December 14, 2018, Belkova filed an adversary proceeding against PNC under
              the umbrella of the Chapter 12 Bankruptcy seeking to invalidate the PNC Mortgage
              (the “Mortgage Validity Adversary Proceeding”).

        25.   More specifically, Belkova filed a single-count Complaint seeking a judicial
              determination that (i) the PNC Mortgage is invalid due to the failure to obtain the

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              consent of the beneficiaries to the Land Trust; and (ii) PNC’s claim against the
              Estate is discharged.

        26.   PNC filed its Answer, Affirmative Defenses and Counterclaim on July 2, 2019.
              PNC’s Counterclaim contained two counts: (i) Equitable Lien; and (ii) Equitable
              Subrogation.

        27.   On March 25, 2020, the Bankruptcy Court entered its Order on PNC Bank’s Motion
              for Summary Judgment and, on March 26, 2020, its Final Judgment (collectively,
              the “Final Summary Judgment”), which granted in part and denied in part PNC’s
              motion for summary judgment in the Mortgage Validity Adversary Proceeding.

        28.   In the Final Summary Judgment, the Bankruptcy Court dismissed “Debtor’s
              Complaint to invalidate PNC’s mortgage lien” as “moot.”

        29.   In accordance with the provisions of the Sixth Amended Plan and the Confirmation
              Order, Belkova was required to continue making monthly payments to PNC and
              continue paying property taxes and hazard insurance for the Property following the
              completion of her Sixth Amended Plan.

        30.   Belkova did not make the payment to PNC pursuant to the Confirmation Order that
              was due on June 1, 2020, nor did Belkova make any payments to PNC pursuant to
              the Confirmation Order that were due subsequent thereto.

        31.   Belkova did not pay all required property taxes assessed against the Property in
              accordance with the Sixth Amended Plan and the Confirmation Order.

        32.   Belkova did not pay all required hazard insurance for the Property in accordance
              with the Sixth Amended Plan and the Confirmation Order.

        33.   On March 16, 2021, a notice of default (the “Notice of Default”) was mailed to
              Belkova.

        34.   Belkova did not cure the defaults alleged in the Notice of Default.

        35.   PNC has allegedly been damaged as a result of Belkova’s defaults.

        36.   PNC has allegedly been further damaged in having to expend attorney’s fees and
              costs associated with protecting its interest in the Property and rights under the PNC
              Mortgage.

        37.   Defendant, ENTERPRISE FUNDING SOLUTIONS LLC, has been defaulted in
              this action.




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   6.    Statement of Issues of Fact That Remain to Be Litigated at Trial:

               The amount of PNC’s damages.

   7.    Statement of Issues of Law on Which There is Agreement:

               PNC has standing to prosecute this in rem foreclosure action, including pursuing in
                rem relief in accordance with the Note, the PNC Mortgage, and/or PNC’s equitable
                lien.

               Belkova failed to make payments to PNC under the Confirmation Order.

               Belkova failed to make payments for property taxes and hazard insurance pursuant
                to the Confirmation Order.

               Belkova failed to make payment to PNC after the Notice of Default.

               All other named Defendants’ interests in the Property are junior and inferior to the
                interest of PNC.

   8.    Statement of Issues of Law That Remain for Determination by the Court:

               Did Plaintiff incur damages for which it is entitled?

   9.    Each Party’s Numbered List of Trial Exhibits, Other Than Impeachment Exhibits, With
         Objections:

               See attached Schedules A-C containing the parties’ respective trial exhibits.

   10.   Each Party’s Numbered List of Trial Witnesses:

         Plaintiff’s Witnesses:

         1.     Michael Bevins, corporate representative of Plaintiff, PNC Bank, N.A.
                c/o William L. Grimsley, Esq.
                McGlinchey Stafford
                10407 Centurion Parkway N., Suite 200
                Jacksonville, FL 32256

         2.     Lilia Belkova (In person and/or to be presented by means of deposition transcript)
                2251 Buck Ridge Trail
                Loxahatchee, FL 33470

         3.     Joseph Hanratty, Esq. (In person and/or to be presented by means of deposition
                transcript)
                723 E Fort King St.
                Ocala, FL 34471


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        4.    Corporate Representative of Deer Run Property Owners’ Association, Inc.
              c/o Steven R. Braten, Esq.
              Rosenbaum PLLC
              250 South Australian Avenue, 5th Floor
              West Palm Beach, FL 33401

        5.    Enterprise Funding Solutions LLC
              c/o Steven Kivett
              4600 N. Flagler Dr.
              West Palm Beach, FL 33407

        6.    James Ciuffetelli
              11255 Persimmon Blvd.
              West Palm Beach, FL 33411

        7.    Corporate representative of McGlinchey Stafford PLLC (Limited solely to
              testimony regarding McGlinchey Stafford billing records, including cost invoices,
              to support PNC’s claim for attorney’s fees and taxable costs)
              c/o William L. Grimsley, Esq.
              McGlinchey Stafford
              10407 Centurion Parkway N., Suite 200
              Jacksonville, FL 32256

        8.    Any fact witnesses disclosed by Defendants.

        9.    Any other witnesses needed for rebuttal.

        Defendant, DEER RUN PROPERTY OWNERS’ ASSOCIATION, INC.’s
        Witnesses:

        1.    Patrick Gallagher, Corporate Representative
              Deer Run Property Owners’ Association, Inc.
              c/o Steven R. Braten, Esq.
              Rosenbaum PLLC
              250 South Australian Avenue, 5th Floor

        2.    James Hotchkiss, records custodian
              Northern Palm Beach County and the Treasure Coast Regional Director
              Campbell Property Management
              401 Maplewood Drive Suite 23
              Jupiter, FL 33458

        Defendants, LILIA BELKOVA A/K/A LILIA BELKOVA RUSSO, individually, and
        LILIA BELKOVA, AS SUCCESSOR TRUSTEE OF THE LAND TRUST
        AGREEMENT NO. 072003 DATED FEBRUARY 9, 2004’s Witnesses:

        1.   Lilia Belkova

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               c/o Adam I. Skolnik, Esq.
               Law Office of Adam I. Skolnik, P.A.
               1761 West Hillsboro Boulevard, Suite 201
               Deerfield Beach, Florida 33442

         2.    Anisa Nazarova
               c/o Adam I. Skolnik, Esq.
               Law Office of Adam I. Skolnik, P.A.
               1761 West Hillsboro Boulevard, Suite 201
               Deerfield Beach, Florida 33442

         3.    Any and all witnesses identified and disclosed by Plaintiff or Defendant Deer Run.

         4.    Any and all witnessed that are required for rebuttal.

   11.   Estimated Trial Time:

         1-2 days.

   12.   An Estimate of Each Party as to Maximum Amount of Attorney’s Fees Properly
         Allowable:

        Pursuant to the terms of the PNC Mortgage, the amount of attorney’s fees to which PNC
         is entitled is not capped or limited.

         DATED this 21st day of December, 2021.



          /s/ William L. Grimsley                          /s/ Steven R. Braten
          Kimberly Held Israel                             Steven R. Braten, Esq.
          Florida Bar No. 47287                            Florida Bar No. 18074
          William L. Grimsley                              250 S. Australian Avenue, 5th Floor
          Florida Bar No. 84226                            West Palm Beach, FL 33401
          10407 Centurion Parkway North, Ste. 200          Telephone: (561) 653-2900
          Jacksonville, FL 32256                           SBraten@rosenbaumpllc.com
          Phone: (904) 224-4449                            Counsel for Defendant DEER RUN
          Primary E-mails: kisrael@mcglinchey.com          PROPERTY OWNERS’
          wgrimsley@mcglinchey.com                         ASSOCIATION, INC.
          Secondary: cgipson@mcglinchey.com
          Counsel for Plaintiff, PNC BANK, N.A.


          /s/ Adam I. Skolnik
          Adam I. Skolnik, Esq.
          Florida Bar No. 728081
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           Deerfield Beach, Florida 33442
           Telephone: 561-265-1120
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           Counsel for Defendants, LILIA BELKOVA,
           INDIVIDUALLY, AND LILIA BELKOVA, AS
           SUCCESSOR TRUSTEE OF THE LAND
           TRUST AGREEMENT NO. 072003 DATED
           FEBRUARY 9, 2004


                                   CERTIFICATE OF SERVICE

           I hereby certify that in accordance with this Court’s electronic filing procedures, this
   document has been electronically filed this 21st day of December, 2021. A Notice of Electronic
   Filing will be sent by the Court to all counsel of record who have consented to e-mail notification
   and electronic service. This document is available for viewing and downloading from the Court’s
   ECF system.

   VIA CM/ECF
   Steven R. Braten, Esq.
   SBraten@rosenbaumpllc.com
   Counsel for Defendant, DEER RUN PROPERTY OWNERS ASSOCIATION, INC.

   Adam I. Skolnik, Esq., askolnik@skolniklawpa.com
   Counsel for Defendants, LILIA BELKOVA, INDIVIDUALLY, AND LILIA BELKOVA, AS
   SUCCESSOR TRUSTEE OF THE LAND TRUST AGREEMENT NO. 072003 DATED
   FEBRUARY 9, 2004


                                         /s/ William L. Grimsley
                                         ATTORNEY




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